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                    Exhibit J
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 Ward Brehm,

               Plaintiff,

 v.
                                                     Civil Case No. 25-cv-660
 Pete Marocco, et al.,

               Defendants.




                      DECLARATION OF JOEL MCELVAIN

      I, Joel McElvain, declare under penalty of perjury, under 28 U.S.C. § 1746, that

the following is true and correct:

        1.    I am counsel for the Plaintiff in this matter.

        2.    Attached as Exhibit K is a copy of email correspondence between counsel

for the Plaintiff and counsel for the Defendants in this matter on March 7 and 8, 2025.




 Washington, DC                                                   __/s/ Joel McElvain
 March 10, 2025                                                         Joel McElvain




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